
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

          No. 96-2006
                            PROVIDENCE SCHOOL DEPARTMENT,
                                 Plaintiff-Appellant,

                                          v.

                                   ANA C., a minor,
                                 Defendant-Appellee.

                                 ____________________



                                     ERRATA SHEET
                                     ERRATA SHEET


               The  opinion  of  this Court  issued  on  March  3, 1997  is
          corrected as follows:

               On  the  cover  sheet,  line 16:  substitute  "Pollock"  for
          "Pollack" and substitute "Incorporated" for "Inc."














































                            United States Court of Appeals
                                For the First Circuit

                                 ____________________

        No. 96-2006

                            PROVIDENCE SCHOOL DEPARTMENT,

                                 Plaintiff-Appellant,

                                          v.

                                   ANA C., a minor,

                                 Defendant-Appellee.

                                 ____________________

                    APPEAL FROM THE UNTIED STATES DISTRICT COURT 

                        FOR THE DISTRICT COURT OF RHODE ISLAND

                    [Hon. Raymond J. Pettine, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                        Boudin, Cyr, and Lynch, Circuit Judges.
                                                ______________

                                 ____________________


            David A.  Wollin, with whom Patricia  K. Rocha, R. Bart Totten and
            ________________            __________________  ______________
        Adler Pollock &amp; Sheehan Incorporated were on brief for appellant.
        ____________________________________
            Martha  McVicker,  with  whom  the  Rhode  Island  Protection  and
            ________________                    ______________________________
        Advocacy System was on brief for appellee.
        _______________
                                 ____________________

                                    March 3, 1997

                                 __________________























                      LYNCH,  Circuit  Judge.       An  impartial  review
                      LYNCH,  Circuit  Judge.
                              ______________

            officer,  acting  under  the  Individuals  with  Disabilities

            Education  Act ("IDEA"), 20 U.S.C.   1400 et seq., found that
                                                      __ ____

            the Providence  School Department owed benefits  to a special

            needs  student, Ana C., for  parts of the  years 1990 through

            1992.   The  School  Department sought  review in  the United

            States District  Court within  thirty days of  receiving that

            decision, consistent  with the time periods  contained in the

            state  Administrative Procedures Act  ("APA").   The district

            court dismissed  the claim as untimely,  finding that federal

            law borrowed a different  state limitations period, one which

            uses  issuance of a decision,  not receipt of  a decision, to

            trigger the thirty day period.1  We reverse the dismissal. 

                                          I.

                      The  essential facts are not in dispute.  Ana C., a

            mentally  retarded  minor,  is  entitled  to receive  special

            educational  services   under  the   IDEA.    Ana   lived  in

            Providence, Rhode  Island from August 1989  to November 1992,

            and  she  was  entitled  to  230 days  of  special  education

            services  per year under  the Rhode Island  Board of Regents'

            Regulations Governing the Special  Education of Children with

            Disabilities (the "Regulations").  

                                
            ____________________

            1.  Because the enactment of the IDEA preceded the enactment
            of 28 U.S.C.   1658, the IDEA is unaffected by that
            establishment of a four year statute of limitations for all
            federal causes of action lacking a specific limitations
            period.  Id.
                     ___

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                      The  School  Department  did  not provide  Ana  the

            summer  educational services  she sought  for the  summers of

            1990, 1991, and  a portion  of 1992.   The School  Department

            conceded  in October of 1992 that Ana was entitled to receive

            a  total of 150 days of special education that the Department

            had previously  failed  to  provide.   But  when  the  School

            Department  learned that Ana and her father had moved to West

            Chester,  Pennsylvania  in  November  1992, it  reversed  its

            position, saying that Ana  could not receive the 150  days as

            long as she resided outside of Rhode Island. 

                      Ana sought  a  hearing.   On  August 30,  1995,  an

            impartial hearing officer for  the Rhode Island Department of

            Education  ("RIDE") decided  that, because  Ana lived  out of

            state, she could  not receive the 150 days.   The officer was

            not an employee  of the school  district or a  member of  the

            school committee,  in accordance with 20  U.S.C.   1415(b)(2)

            and section 7 of the Regulations. 

                      Ana,  then  age   fourteen,  appealed  the  hearing

            officer's  decision  pursuant  to  20 U.S.C.     1415(c)  and

            section  9 of the  Regulations.  An  impartial review officer

            reversed.  As required by section 10 of the Regulations, that

            officer was not an employee of the Rhode Island Department of

            Education or a member  of the Rhode Island Board  of Regents.

            His   decision,  dated   January   23,  1996,   awarded   Ana





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                                          3















            compensation  for  150 days  of  special  education from  the

            Department, despite her Pennsylvania residency. 

                      The review officer's decision was forwarded to  the

            Office  of  Special Needs  of the  RIDE  and was  received on

            January  26, 1996.  The  RIDE then forwarded  the decision to

            counsel for Ana  and to  the School Department.   Though  the

            precise  date  of  the  forwarding  is  unclear,  the  School

            Department  did not  receive the  decision until  February 7,

            1996.    

                      The  Providence School  Department, pursuant  to 20

            U.S.C.     1415(e)(2), filed  its  complaint challenging  the

            final agency decision in the United States District Court for

            the District  of Rhode  Island on  March 4, 1996.   Ana  then

            moved  to dismiss  the complaint  on the  ground that  it was

            filed forty-one  days after  the state review  officer issued

            his decision.   This,  Ana argued,  exceeded the thirty  days

            from issuance allowed by law and was thus untimely.  

                      Accepting the report and recommendation of a United

            States  Magistrate Judge,  the district  court  granted Ana's

            motion  and  dismissed  the  School  Department's  complaint.

            Although section  1415(e)(2) does  not specify  a limitations

            period,  the Supreme  Court  has directed  federal courts  to

            "apply the  most  closely analogous  statute  of  limitations

            under  state  law,"   DelCostello  v.  International Bhd.  of
                                  ___________      ______________________

            Teamsters, 462  U.S. 151, 158 (1983),  so long as "it  is not
            _________



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            inconsistent  with federal law or policy to do so." Wilson v.
                                                                ______

            Garcia,  471 U.S. 261,  266-67 (1985).   The magistrate judge
            ______

            had found  that the most  closely analogous statute  was R.I.

            Gen.  Laws    16-39-3.1  and  therefore that  the  thirty day

            limitations period  had begun  to run  when the  decision was

            issued on January 23, 1996.2  

                      The  School  Department appeals,  arguing  that the

            most analogous state limitations  statute is the Rhode Island

            APA,  R.I. Gen. Laws    42-35-15, under which  the thirty day

            limitations period begins  to run  from the  date of  receipt

            rather than the date  of issuance.  See Bayview  Towing, Inc.
                                                ___ _____________________

            v.  Stevenson, 676  A.2d  325, 328  (R.I.  1996) (thirty  day
                _________

            limitations   period  under  section  42-35-15  triggered  by

            receipt of the final agency  decision).  Under that standard,

            the  Department  argues,  its  appeal was  timely  filed  and

            improperly dismissed.

                                         II.

                      This case presents a pure issue of law.  Our review

            of a grant of  a motion to dismiss  is de novo.   Glassman v.
                                                   __ ____    ________

            Computervision Corp., 90 F.3d 617, 623 (1st Cir. 1996).  
            ____________________

                      In  enacting the  IDEA, Congress  contemplated that

            there would be judicial review of the decisions of the review

                                
            ____________________

            2  The Department did not argue that the "issuance" of the
            decision was the date it was sent to the parties, rather than
            the date the review officer submitted it to the state agency
            to send to the parties.  Accordingly, we do not consider that
            point.

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            officer,  but did not set a statutory time limit during which

            the petition  for judicial  review must be  brought.   Courts

            have  looked to  the most  analogous statutes  of limitations

            from  the laws  of the pertinent  state, provided  that those

            laws do  not conflict with  the federal policies  inherent in

            the statute.   See Wilson, 471  U.S. at 266-67.   In Amann v.
                           ___ ______                            _____

            Town  of Stow, 991 F.2d 929, 931 (1st Cir. 1993)(per curiam),
            _____________

            this  court, in a case  involving a special  needs child from

            Massachusetts,  held that the  Massachusetts APA contains the

            "most  analogous"  state law  cause  of action  to  the civil

            action authorized by  section 1415(e)(2).  In so  doing, this

            court found that "courts reviewing agency decisions under the

            IDEA will  rely primarily  on the administrative  record, and

            will scrutinize  agency action for procedural  regularity and

            substantive  validity, but  will not  impos[e] their  view of

            preferable . . . methods on  the  state agency.    Thus,  the

            character  of  the  hearing  . .  .  under  the Massachusetts

            statute  is essentially one of review."  Id. at 932 (internal
                                                     ___

            quotation marks and citations omitted).  The Amann court also
                                                         _____

            considered whether the short  limitations period (thirty days

            from receipt)  was inconsistent with  the goals of  the IDEA,

            and concluded that it was not.  Id.
                                            ___

                      For  similar reasons, the  Rhode Island APA governs

            the limitations period for judicial review in this case.  The

            Rhode Island APA, like the Massachusetts APA, confines review



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                                          6















            to   the  record   or,   in  cases   of  alleged   procedural

            irregularity, to  proof  in court  of  those  irregularities.

            R.I. Gen. Laws   42-35-15(f).  The reviewing court "shall not

            substitute its judgment for  that of the agency as  to weight

            of  the evidence on questions  of fact."   Id.   42-35-15(g).
                                                       ___

            The court  "may reverse or  modify the  [agency] decision  if

            substantial rights of the  appellant have been prejudiced" in

            a  manner consistent with  the usual grounds  for reversal on

            judicial  review  of  an administrative  agency.    Id.   The
                                                                ___

            character of the hearings under both the Rhode Island APA and

            the IDEA is essentially one of review.  Cf. Board of Educ. v.
                                                    ___ ______________

            Rowley, 458 U.S. 176, 207-09 (1982); Burlington v. Department
            ______                               __________    __________

            of Educ., 736 F.2d 773, 791 (1st Cir. 1984).
            ________

                      The  district court  focused on  the provisions  of

            R.I.  Gen. Laws    16-39-3.1.   By  its  literal terms,  that

            section  is not a judicial  review provision for an aggrieved

            party  but  a  finality  and enforcement  provision  for  the

            prevailing party where no review was available or was sought:

                      Enforcement of final decisions -- 
                      All final decisions  made after a hearing
                      by  the  commissioner  of elementary  and
                      secondary  education  or  the   board  of
                      regents  for   elementary  and  secondary
                      education,  and which are  not subject to
                      further   judicial   or    administrative
                      review, shall be enforceable  by mandamus
                      or any other suitable civil action in the
                      superior court for  Providence County  at
                      the request of any interested party.  All
                      such  decisions  of the  commissioner and
                      board shall become  final if judicial  or
                      further  administrative   review  is  not


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                      properly sought within  thirty (30)  days
                      of their issuance.

            Id.   16-39-3.1.  
            ___

                      Even assuming that section  16-39-3.1 is a judicial

            review provision, this section of Rhode Island law is not the

            most  analogous to the federal scheme.  The decision at issue

            was made  by an impartial  review officer (not by  one of the

            officials listed).   See  Regulations   10  (impartial review
                                 ___

            officer may not  be the  Commissioner or an  employee of  the

            Rhode  Island   Department   of  Elementary   and   Secondary

            Education); see  also 20  U.S.C.   1415(b)(2)  (impartial due
                        ___  ____

            process hearing officer may  not be an employee of  the state

            educational  agency).    The  decision was  also  subject  to

            further judicial or administrative review.

                      As  a  matter of  federal  law, the  administrative

            decision  here is more  similar to those  governed by section

            16-39-4, which expressly states  that any aggrieved party may

            obtain judicial review  "as provided in  chapter 35 of  title

            42."   Chapter  35  of  title 42  is  the Rhode  Island  APA.

            Chapter  39 itself  is concerned  with "[p]arties  having any

            matter of dispute between them arising under any law relating

            to schools or  education."   R.I. Gen. Laws    16-39-1.   The

            federal district court for  the district of Rhode Island  had

            previously  noted  that  section  16-39-4  applies  to  cases

            involving benefits for handicapped children under chapter 39.




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                                          8















            Laura V. v. Providence Sch. Bd., 680 F. Supp.  66, 70 (D.R.I.
            ________    ___________________

            1988).

                        In  holding  that the  APA  does  not apply,  the

            opinion  in the trial courts relied on a different chapter of

            the education laws,  chapter 60.  Chapter  60 establishes the

            Board of  Regents for Elementary and  Secondary Education and

            defines  its  duties.     Chapter  60  contains  a  provision

            exempting itself  from  the provisions  of  the APA.    Rhode

            Island  General   Laws  section 16-60-10  states   that  "the

            provisions of  the Administrative Procedures  Act, chapter 35

            of title 42, shall not apply to this chapter."

                      Federal  law  requires that  we  look  to the  most

            closely  analogous statute  of  limitations,  and the  review

            procedures  which have  been applied  to chapter  60 are  not

            analogous to  the  review  provisions  of the  IDEA.    Under

            section 16-60-10, review of decisions of the Board of Regents

            is by writ of  certiorari.  Pawtucket Sch. Comm. v.  Board of
                                        ____________________     ________

            Regents for Elementary and  Secondary Educ., 513 A.2d 13,  15
            ___________________________________________

            (R.I.  1986);  Bristol Sch.  Dep't  v. Board  of  Regents for
                           ___________________     ______________________

            Educ., 396 A.2d 936 (R.I. 1979).  Review under the IDEA  is a
            _____

            matter  of  right  rather  than  discretionary.    Under  the

            provisions  of  the  IDEA,  all   aggrieved  parties,  school

            committees  and  parents  alike,  are  entitled  to  judicial

            review:  

                      Any party aggrieved  by the findings  and
                      _________
                      decision  made  under  subsection (b)  of


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                      this section [providing  for first  level
                      of  administrative  review] who  does not
                      have   the  right  to   an  appeal  under
                      subsection  (c) [providing  for impartial
                      review    of   the    hearing   officer's
                      decision], and any party aggrieved by the
                      findings  and  decision under  subsection
                      (c),  shall  have the  right  to  bring a
                            ___________________________________
                      civil   action   with   respect  to   the
                      ______________
                      complaint  presented   pursuant  to  this
                      section . . . .

            20  U.S.C.    1415(e)(2) (emphasis  added); see  also  Doe v.
                                                        ___  ____  ___

            Anrig, 561  F.  Supp. 121,  124  (D. Mass.  1983)  (reviewing
            _____

            town's  appeal from administrative  decision under  the IDEA,

            then  known as  the  Education for  All Handicapped  Children

            Act).   Indeed, entitlement  to review is  arguably the  most
                            ___________

            salient feature of review  under the IDEA.  Review  under the

            Rhode Island  APA is also a  matter of right.   See R.I. Gen.
                                                            ___

            Laws   16-35-15 (providing that  anyone who has exhausted all

            available  administrative remedies  is  entitled to  judicial
                                                    ________

            review  under the  APA).   By  contrast,  review by  writ  of

            certiorari to the state's  highest court is discretionary and

            is used for significant  issues of public interest.   Because

            federal  law requires  borrowing the  most  closely analogous

            statute  of  limitations, we  look  to  section 16-39-4,  the

            provision providing for  APA review, rather than  to case law

            providing for review by writ of certiorari.

                      The adoption of the district court's position would

            pose another  problem under  federal law, which  we describe,

            but which we need not resolve in light of our holding.  Under



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                                          10















            that position,  parents or  school systems seeking  to appeal

            from  decisions by impartial  review officers acting pursuant

            to  the IDEA  would effectively  have less  than thirty  days

            within  which to seek judicial  review.  That  is because the

            finality  provision  of  section 16-39-3.1  starts  the clock

            running from the date a decision is issued.  Here the parties

            did  not   receive  the   review  officer's   decision  until

            approximately fifteen  days after the date  of that decision,

            and thirteen days after it  was received by the RIDE.   Thus,

            about  half of the thirty days had elapsed before the parties

            even  knew of the decision.   The delay  occurred because the

            hearing  officer   forwarded  the   decision  to  the   state

            Department of  Special Education, which then  forwarded it to

            the parties.   Bureaucracies being what they  are, some delay

            is  inevitable.  Whether less than thirty days to seek review

            would  be  inconsistent  with  the IDEA's  goal  of  parental

            involvement  is a  serious issue.3   See,  e.g., 20  U.S.C.  
                                                 ___   ____

            1415(b)(1)(D) (requiring  school authorities to  give parents

            notice of pertinent procedures); see also  Amann, 991 F.2d at
                                             ___ ____  _____

            932.

                      Finally, even  if we were to  choose the applicable

            statute of  limitations based  solely on the  requirements of


                                
            ____________________

            3  The parties advise us that the hearing officers are now
            told to mail their decisions directly to the parties.  Even
            so, the mail takes time, which again cuts into the thirty day
            limitations period.

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                                          11















            state law, it is far from clear that chapter 60 is applicable

            here.  By its terms, this exclusion from the APA applies only

            to chapter  60, and not  to the  provisions of chapter  39 on

            which the Providence Department relies.  If one probes behind

            the  literal terms  of  the chapter  60 exclusion  provision,

            there is little reason  to think this exclusion was  meant to

            apply to disputes between  a child and a school  system, like

            the  dispute here.   The  Rhode Island  APA has  a  number of

            provisions  governing   the  internal  operations   of  state

            agencies,  such as  the procedures  for adopting  rules, R.I.

            Gen. Laws    42-35-3, and restrictions on  ex parte contacts,

            id.   42-35-13.   That the Rhode Island  legislature may have
            ___

            intended to  exempt the  Board  of Regents  from these  rules

            under certain  circumstances does  not necessarily  mean that

            the legislature intended to exempt from judicial review under

            the  APA matters within the  purview of chapter 39 concerning

            benefits owed to children under education laws.  In Pawtucket
                                                                _________

            School Committee  v. Pawtucket  Teachers  Alliance, 610  A.2d
            ________________     _____________________________

            1104, 1106 (R.I. 1992), for example, the Rhode Island Supreme

            Court found  that because section 16-39-2,  which governs the

            appeal  of school  committee actions  to the  Commissioner of

            Education, was  not expressly exempted from  the Rhode Island

            APA  pursuant  to  R.I.  Gen.  Laws     42-15-18(b),  certain

            provisions of  the APA applied  to hearings conducted  by the

            Commissioner.     Similarly,  while  listing  numerous  other



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                                          12















            provisions to which  the APA does  not apply, section  42-15-

            18(b) contains no express exemption for section 16-39-3.1.  

                      It may  be true that,  under certain circumstances,

            as a matter of Rhode Island law, review of decisions pursuant

            to chapter 39 is not governed by the APA.  There  is case law

            suggesting  that  judicial  review  of  a  Board  of  Regents

            decision is only available through a writ of certiorari.  See
                                                                      ___

            D'Ambra v. North Providence Sch.  Comm., 601 A.2d 1370,  1372
            _______    ____________________________

            (R.I.  1992).  We  need not resolve this  issue of state law,

            for  this case is more analogous, as a matter of federal law,

            to the type of cases reviewed under the APA.

                      For these  reasons, we  hold that the  Rhode Island

            APA, R.I.  Gen. Laws     42-35-15, including  the statute  of

            limitations and triggering  event it sets forth,  is the most

            closely  analogous  statute  under  state law  and  therefore

            applies  to IDEA  appeals from  Rhode Island.4    Because the

            School Department's  notice of  appeal fell within  the Rhode

            Island APA  limitations period, the decision  of the district

            court  dismissing  the  case is  reversed,  and  the case  is


                                
            ____________________

            4  In light of this ruling, the Rhode Island Department of
            Elementary and Secondary Education may wish to reconsider the
            language it uses on its notice of decision: "The Rhode Island
            Department of Education does not set a time frame to bring
            civil action, and defers that issue to the court in which
            appellant seeks jurisdiction."  Cf. Speigler v. District of
                                            ___ ________    ___________
            Columbia, 866 F.2d 461, 469 (D.C. Cir. 1989) (rejecting
            ________
            application of statute of limitations to bar parents' actions
            where parents had not been notified of the limitations
            period). 

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                                          13















            remanded for prompt  disposition.  "The legislative  history,

            statutory  terms, and  regulatory framework  of the  IDEA all

            emphasize  promptness  as  an  indispensable  element  of the

            statutory scheme."  Amann, 991 F.2d at 932.  While the courts
                                _____

            have  acted expeditiously  (eleven  months  from  filing  the

            complaint  through this appeal), the events  at issue go back

            to 1990.  Justice would be best served by a prompt resolution

            of the longstanding dispute.  No costs are awarded.





































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